             Case 1:02-cr-00112-CG-C Document 112 Filed 11/22/05 Page 1 of 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations


                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                  V.                                      (For Revocation of Supervised Release)
        DAPHNE ARMISTEAD KOMINEK

                                                          CASE NUMBER: 1:02-CR-00112-002
                                                          USM NUMBER: 08165-003

THE DEFENDANT:                                            Christopher Knight, Esquire
                                                          Defendant's Attorney


(X)     admitted guilt to violation of supervision conditions: 2,6,10 & 11 as set out in the Probation
Petition Form 12C dated 8/19/2005.
()      was found in violation of supervision condition(s):
                                                                                           Date violation
Violation Number                                  Nature of Violation                      Occurred
       2                                          Technical
       6                                          Technical
       10                                         Technical
       11                                         Technical

      The defendant is sentenced as provided in pages 2 through 2            of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No.: 5786                         November 14, 2005
Defendant's Date of Birth: 1970                               Date of Imposition of Judgment

Defendant's Residence Address:
Brewton, AL
                                                              /s/ Callie V. S. Granade
                                                              CHIEF UNITED STATES DISTRICT JUDGE
Defendant's Mailing Address:

                                                              November 22, 2005
                                                              Date
               Case 1:02-cr-00112-CG-C Document 112 Filed 11/22/05 Page 2 of 2
                                                                                                  Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
Defendant: DAPHNE ARMISTEAD KOMINEK
Case Number: 1:02-CR-00112-002
                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of NINE (9) MONTHS       .


()      The court makes the following recommendations to the Bureau of Prisons:




(X)     The defendant is remanded to the custody of the United States Marshal.

()      The defendant shall surrender to the United States Marshal for this district:
 ()       at     .m. on     .
 ()       as notified by the United States Marshal.

()      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
  ()      before 2 p.m. on        .
  ()      as notified by the United States Marshal.
  ()      as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:




Defendant delivered on                          to                                     at

with a certified copy of this judgment.
                                                                             UNITED STATES MARSHAL


                                                                       By:
                                                                                       Deputy U.S. Marshal
